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EXHIBIT 1
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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION .
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UNITED STATES OF AMERICA ) Case No. CR

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) INFORMATION CR B

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Vv. ) VIOLATION:

) Title 15, United States Code,

) Section 1 (Conspiracy in

) Restraint of Trade)
SAMSUNG SDI COMPANY, LTD., )

)

) San Francisco Venue

Defendant. )
)
)

The United States of America, acting through its attorneys, charges:
I.
DESCRIPTION OF THE OFFENSE
1. SAMSUNG SDI COMPANY, LTD. (“defendant”) is made the defendant on the

charge stated below.

2. From at least as early as January 1997, until at least as late as March 2006, the
defendant and its coconspirators entered into and engaged in a combination and conspiracy in the
United States and elsewhere to suppress and eliminate competition by fixing prices, reducing
output, and allocating market shares of color display tubes (“CDTs”). The combination and

conspiracy engaged in by the defendant and its coconspirators was in unreasonable restraint of

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interstate and foreign trade and commerce in violation of Section | of the Sherman Act (15
ULS.C. § 1).

3. The charged combination and conspiracy consisted of a continuing agreement,
understanding, and concert of action among the defendant and its coconspirators, the substantial
terms of which were to agree to fix prices, reduce output, and allocate market shares of CDTs.

4, For the purpose of forming and carrying out the charged combination and
conspiracy, the defendant and its coconspirators did those things that they combined and
conspired to do, including, among other things:

(a) participating in meetings, conversations, and communications in Taiwan,
Korea, Malaysia, China, and elsewhere to discuss the prices, output, and
market shares of CDTs;

(b) agreeing, during those meetings, conversations, and communications, to
charge prices of CDTs at certain target levels or ranges;

(c) agreeing, during those meetings, conversations, and communications, to
reduce output of CDTs by shutting down CDT production lines for certain
periods of time;

(d) agreeing, during those meetings, conversations, and communications, to
allocate target market shares for the CDT market overall and for certain
CDT customers;

(e) issuing price quotations and reducing output in accordance with the
agreements reached; and

(f) exchanging information on sales, production, market share, and pricing of
CDTs, for the purpose of monitoring and enforcing adherence to the
agreed-upon prices, output reduction, and market share allocation.

I.
DEFENDANT AND COCONSPIRATORS

5. SAMSUNG SDI COMPANY, LTD. is a corporation organized and existing under
the laws of the Republic of Korea. During the period covered by this Information, SAMSUNG

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SDI COMPANY, LTD. engaged in the business of producing and selling CDTs to customers in
the United States and elsewhere.

6. Various corporations and individuals, not made defendants in this Information,
participated as coconspirators in the offense charged in this Information and performed acts and
made statements in furtherance of it.

7. Whenever in this Information reference is made to any act, deed, or transaction of
any corporation, the allegation means that the corporation engaged in the act, deed, or transaction
by or through its officers, directors, employees, agents, or other representatives while they were
actively engaged in the management, direction, control, or transaction of its business or affairs.

Ill.
TRADE AND COMMERCE

8. CDTs are a type of cathode ray tube. Cathode ray tubes consist of evacuated glass
envelopes that contain an electron gun and a phosphorescent screen. When electrons strike the
screen, light is emitted, creating an image on the screen. CDTs are the specialized cathode ray
tubes manufactured for use in computer monitors and other products with similar technological
requirements.

9. During the period covered by this Information, the defendant and its
coconspirators sold and distributed CDTs in a continuous and uninterrupted flow of interstate
and foreign trade and commerce to customers located in states or countries other than the states
or countries in which the defendant and its coconspirators produced CDTs.

10. The business activities of the defendant and its coconspirators that are the subject
of this Information were within the flow of, and substantially affected, interstate and foreign
trade and commerce.

IV.
JURISDICTION AND VENUE

11. The combination and conspiracy charged in this Information was carried out, in

part, in the Northern District of California, within the five years preceding the filing of this

Information.

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ALL JN VIOLATION OF ANTLE 15, UNITED STATES CODE, SECTION 1.

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